996 F.2d 1216
    144 L.R.R.M. (BNA) 3008
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    Albert REITER;  Otis Whitman;  Louis Clyburn, On behalf ofthemselves and all others similarly situated,Plaintiffs-Appellants,v.MIDLAND ROSS CORPORATION;  United Steelworkers of America,AFL-CIO-CLC;  Local 1477, United Steelworkers ofAmerica, Defendants-Appellees.
    
      No. 92-3696.
      United States Court of Appeals, Sixth Circuit.
      June 28, 1993.
      Before:  MARTIN, SILER and BATCHELDER, Circuit Judges.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      The court finds that no prejudicial error intervened in the judgment and proceedings in the district court, and it is therefore ORDERED that said judgment be and it hereby is affirmed.
    
    